             Case 3:11-cr-05394-BHS               Document 84      Filed 09/04/12    Page 1 of 1



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2
                                  UNITED STATES DISTRICT COURT
3                                WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
4
     UNITED STATES OF AMERICA,                          )
5                                                       )
                              Plaintiff,                )      NO. CR11-5394BHS
6                                                       )
                                                        )      ORDER GRANTING STIPULATED
7                             v.                        )      MOTION FOR EXTENSION OF TIME
                                                        )      TO FILE GOVERNMENT’S
8                                                       )      RESPONSE
     ADAM S. VOELKER,                                   )
9                                                       )
                              Defendant.                )
10                                                      )

11           THIS MATTER, having come before the Court on the stipulated motion for an

12   extension of time within which the government must file a response to the defendant’s

13   motion to suppress evidence, docket entry 81, from September 7, 2012, to September 14,

14   the Court has considered the facts in support of the request, other facts apparent from the

15   record, and finding good cause, grants the requested extension. Now, therefore,

16           It is hereby ORDERED that the due date for the filing of the government’s

17   response to the defendant’s motion to suppress evidence is extended from September 7,

18   2012, to September 14, 2012.

19           DATED this 4th day of September, 2012.

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                                                               BENJAMIN H. SETTLE
25                                                             United States District Judge
26

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28


                                                                                         UNITED STATES ATTORNEY
                                                                                         1201 PACIFIC AVENUE, SUITE 450
     Order Granting Stipulated Motion for Time Extension - 1                              TACOMA, WASHINGTON 98402
     (U.S. v. Voelker, CR11-5394BHS)                                                             (253) 428-3800
